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   IT IS ORDERED as set forth below:



   Date: March 22, 2021

                                            _____________________________________
                                                       Wendy L. Hagenau
                                                  U.S. Bankruptcy Court Judge

_______________________________________________________________




                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:                                             :              CHAPTER 7
                                                   :
BOBBY MANALCUS WILBANKS,                           :              CASE NO. 10-60990-WLH
KIMBERLY ANN WILBANKS                              :
                                                   :
         Debtors.                                  :

                    ORDER APPROVING SETTLEMENT
     OF PRODUCT LIABILITY CLAIM AND GRANTING AUTHORITY TO MAKE
             CERTAIN PAYMENTS IN ACCORDANCE WITH SAME

         On February 2, 2021, S. Gregory Hays, Chapter 7 Trustee (“Trustee”) for the bankruptcy

estates (collectively, the “Bankruptcy Estate”) of Bobby Manalcus Wilbanks and Kimberly Ann

Wilbanks (collectively, “Debtors”), filed his Motion for Approval of Settlement of Product

Liability Claim under Rule 9019 of the Federal Rules of Bankruptcy Procedure and Request to

Make Certain Payments in Accordance with Same [Doc. No. 76] (the “Settlement Motion”).




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        In the Settlement Motion, Trustee seeks, among other things, approval of a settlement (the

“Settlement”) of a certain multi-district product liability litigation claim of the Bankruptcy Estate

through a payment of $80,000.00, gross, which after payment of various liens and other expenses

will result in a net of $42,232.84 coming into the Bankruptcy Estate. In addition, Trustee seeks

authority to make, or to cause to be made, certain payments from the resulting settlement proceeds.

        Also on February 2, 2021, Trustee filed Notice of Pleadings, Deadlines to Object, and for

Hearings [Doc. No. 78] (the “Notice”) regarding, among other things, the Settlement Motion, in

accordance with General Order No. 24-2018 and setting a hearing on the Settlement Motion on

March 18, 2021 (the “Hearing”). Counsel for Trustee certifies that he served the Notice on all

requisite parties in interest on February 2, 2021. [Doc. No. 79].

        The Notice provided notice of the opportunity to object and for hearing pursuant to the

procedures in General Order No. 24-2018. No objection to the Settlement Motion was filed prior

to the objection deadline provided in the Notice. No creditor or party in interest appeared at the

Hearing to voice an objection to the relief requested in the Settlement Motion.

        The Court having considered the Settlement Motion and all other matters of record,

including the lack of objection to the relief requested in the Settlement Motion, and, based on the

forgoing, finding that no further notice or hearing is necessary; and, the Court having found that

good cause exists to grant the relief requested in the Settlement Motion, it is hereby

        ORDERED that the Settlement Motion is GRANTED: the Settlement stands

APPROVED, and the terms set forth in the Settlement Motion are incorporated herein by

reference. It is further




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        ORDERED that Trustee may take any other actions necessary to effectuate the terms of

the Settlement and the Settlement Motion, including, without limitation, making, or causing to be

made, those requested payments set forth in the Settlement Motion. It is further

        ORDERED that this Court retains jurisdiction to (i) interpret, implement, and enforce this

Order, (ii) resolve any disputes regarding or concerning the Settlement, and (iii) enter such other

and further orders as may be necessary, just, or proper as an aid to enforcement or implementation

of this Order.

                                      [END OF DOCUMENT]

Order prepared and presented by:

ARNALL GOLDEN GREGORY LLP
Attorneys for Trustee

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Identification of entities to be served:

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362 Richard B. Russell Building                      426 Ellington Road
75 Ted Turner Drive, SW                              Oxford, GA 30054
Atlanta, GA 30303

S. Gregory Hays
Hays Financial Consulting, LLC                       Kimberly Ann Wilbanks
2964 Peachtree Road, Suite 555                       426 Ellington Road
Atlanta, GA 30305                                    Oxford, GA 30054

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